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   ORIGINAL                                               F/LED IN THE

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District of Hawaii


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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,                 CR. NO.
                                                    C'R20- 000 45 Jiy
                      Plaintiff,          INDICTMENT

    vs.                                  [18U.S.C. §2261A(2)(B)]

MICAH AUSTIN GOODAEE,

                      Defendant.




                                   INDICTMENT



The Grand Jury Charges:
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                                   Cvberstalking
                           (18 U.S.C. § 2261A(2)(B))

      On or about and between November 13, 2019 and May 9,2020, both dates

being approximate and inclusive, within the District of Hawaii and elsewhere,

MICAH AUSTIN GOODALE,the defendant, with the intent to harass, intimidate,

and cause substantial emotional distress to another person("AFl"), did use

facilities ofinterstate and foreign commerce, including internet websites and other

forms of electronic communication services, to engage in a course of conduct that

caused and attempted to cause substantial emotional distress to AF1.
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      All in violation of Title 18, United States Code, Section 2261A(2)(B).




      DATED: tTuw-g-               Honolulu, Hawaii.

                                            A TRUE BILL


                                            /s/ Foreperson, Grand Jury
                                            Foreperson, Grand Jury




KENJIM.PRICE
United States Attorney
District of Hawaii




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AssistanTDnitea States Attorney




United States v. Micah Austin Goodale
Indictment
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